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              EXHIBIT 19
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            The Sergeant Joshua Mattson Family




                                  1
                              MATTSON 001
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



MARY B. HEATON, et al.,

                      Plaintiffs,

       V.                                             Civil Action No. 1:19-cv-03003-JMC

THE ISLAMIC REPUBLIC OF IRAN,

                      Defendant.


 TESTIMONIAL AFFIDAVIT OF PLAINTIFF JOSHUA MATTSON IN SUPPORT OF
      PLAINTIFFS' MOTION FOR DEFAULT JUDGMENT AGAINST IRAN

Pursuant to 28 U.S.C. §1746, I, JOSHUA MATTSON, hereby declare as follows:

       1.       "I am one of the Plaintiffs in this case. Iam over the age of 18, of sound mind,

and make this Affidavit from personal knowledge.

       2.       Iwas born in October 1976 and am now 46 years old. Iam aresident of the State

of Texas. In accordance with 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(1)—(II) and 1605A(c)(1)—(2), at the

time of the May 16, 2006 terrorist attack in which Iwas injured (hereinafter 'the Attack') Iwas

aUnited States citizen and member of the United States armed forces. Specifically, Iwas a

member of the United States Army. Iwas 29 at the time of the Attack. The photograph on the

preceding page accurately depicts me in my United States Army uniform.

       3.       Iam presenting this Affidavit in support of my request for the Court to enter a

Default Judgment against Defendant Islamic Republic of Iran ('Iran'). More specifically, Iam

submitting this Affidavit to provide the Court with the facts concerning the May 16, 2006 terrorist

attack, the injuries Isuffered in the Attack, the medical care and treatments Ihave received for

my injuries, my current condition, and how the attack and injuries have impacted me and my life.

See Pls.' First Amend. Compl. at 83.



                                                 2

                                          MATTSON 002
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       4.       Furthermore, my son, Joshua Mattson, was born on July 17, 2003 and is now 19

years old. Joshua is a resident of the State of Texas. In accordance with 28 U.S.C. §§

1605A(a)(2)(A)(ii)(I) and 1605A(c)(1), at the time of the Attack, Joshua was a United States

citizen. When Plaintiffs' First Amended Complaint was filed on January 29, 2021, Joshua was a

minor and Ifiled suit as his Next Friend. However, Joshua is now 19 years old. Therefore, Joshua

will submit his own Affidavit in support of his claim for solatium damages. See id.

       5.       Prior to signing this Affidavit, my attorneys asked me series of questions about

the Attack, my resulting injuries, the medical care and treatments Ihave received since the Attack,

and my life today. Below are the questions and my answers:

Q. When did you first join the United States Army and why did you enlist?

A. Ifirst joined the Army on July 21, 1994. Igraduated high school in June, and joined at 17
years old. Ienlisted because Iwanted to serve my country and be asoldier.

Q. What was your mission, and what happened to you on May 16, 2006?

A. When Iwas deployed to Iraq in November of 2005, Iwas assigned to a Transportation
Company. My job (MOS) was 88M (Truck Driver). My mission while in Iraq was to conduct
recovery missions, which included going to pick up vehicles that had been damaged by Improvised
Explosive Devices OED's'), injured or deceased personnel, and logistic re-supply missions. We
would transport water, food, repair parts, vehicles, and any other items needed to other Military
FOB's (Forward Operating Base) daily.

On May 16, 2006, my unit was scheduled on are-supply mission from Forward Operating Base
('FOB') Duke to FOB Kalsu in Iskandariya, Iraq. During this re-supply mission, my vehicle was
hit with alarge IED. During this IED attack my vehicle was destroyed and Iwas injured.

Q. Would you please describe what you remember about the Attack?

A. We were scheduled to leave about an hour or so after an IED sweep team was supposed to clear
our planned route. However, avehicle broke down shortly after leaving and we had to return to
FOB Duke (located near Najaf, Iraq) to change it out for another vehicle. This delayed our convoy
nearly 4hours. When we finally left, it was dark and we were traveling down aroad they called
Alternate Supply Route ('ASR') Latina through the city of Al Kifl. As we approached the city, I
remember seeing abright flash of light from my right side and then darkness.




                                                 3

                                          MATTSON 003
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The vehicle Iwas driving, aPalletized Load System ('PLS'), had been struck by an IED. It
detonated on the passenger side and the IED ripped holes through the bottom of my vehicle's cab,
where my legs were. Isustained multiple shrapnel wounds to my left calf. The percussion of the
blast threw me into the door and my left kneecap fractured. The blast also knocked me out. Iam
uncertain as to how long exactly that Iwas knocked out, but it was at least several minutes. Iknow
this because when Iwoke up, we were being fired upon with small arms, and another vehicle had
been hit after mine and Inever heard it.

Upon waking, the cab of my vehicle was full of smoke and my legs were burning as if they were
on fire. Ipanicked, because Ithought my vehicle was burning. It took several moments for me to
realize where Iwas and what was happening.

Iremember looking at my legs and Irealized the truck was not burning. All Isaw was blood. I
then feared Ihad maybe lost my legs. At around that time, amedic swung my door open. He began
to look at my leg. There was both incoming and outgoing gunfire, and the medic left and went
back in his truck. He didn't come back, so Iretrieved my pressure dressing from my first aid kit,
and bandaged the wounds on my legs. Ithen grabbed my weapon, opened my door, and tried to
get out of the truck. Ifell because my legs were injured too badly. So Ilaid on the ground and
began to return fire towards the enemy as well. After the enemy left, Iwas eventually loaded into
another vehicle and we waited for Explosive Ordinance Disposal ('EOD') to come to our location
to clear the area and make sure there were no other IED's. We then turned around and drove all
the way back to FOB Duke.

Q. Do you believe that the IED in the Attack was an Explosively Formed Penetrator ('EFP')?

A. Yes, Ido. After the Attack, Iwas informed by my Platoon Sergeant, Platoon Leader, and
Captain that Ihad been hit with an Explosively Formed Penetrator ('EFP'). Iwas also able to see
my vehicle after the Attack as well. The amount and type of damage it had was consistent with the
damage Ihad seen while recovering other vehicles that were hit with EFP's. For instance, the
vehicle's damage included alarge hole through the up-armor and the cab was separated from the
truck My medical records also accurately state that the Attack involved a4charge EFP.

Q. Please describe what happened to you, including the injuries you suffered, in the Attack?

A. The injuries Isustained in the attack were severe. Ihad multiple shrapnel wounds to my left
calf. Ihad one wound on my right calf. My left kneecap was fractured. Isustained aTraumatic
Brain Injury (TBI). Ialso suffered aconcussion.

Q. After doctors and emergency medical personnel had you stabilized, what was your condition
and how were you feeling?

A. When Iwas brought back via truck to FOB Duke, Iwas given morphine. The medics were
treating my leg wounds. Iwas in alot of pain and Iwas scared.




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                                          MATTSON 004
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The photographs on Page 5-6 below were taken at the medic tent on FOB Duke in Al Najaf. The
photographs were taken about 3hours after Iwas injured when Ifinally returned to the FOB. The
photographs fairly and accurately depicts my left leg and blood-soaked pants after the Attack.




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                                       1VIATTSON 005
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The photograph below was taken in the truck around 45 minutes after the Attack. The photograph
fairly and accurately depicts my pant leg covered in blood and my boot removed.




                                               6

                                       MATTSON 006
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The photograph below fairly and accurately depicts my left leg. The photograph was taken about
2weeks after the Attack.




Q. What were your doctors telling you about your future course of treatment?

A. Iwas told that Iwould have to be on crutches for awhile. Iwas not sent
home. Iwas forced to stay in Iraq and continue doing convoys (on crutches). When Ifinally
came home in November of 2006, Iwas told Iwould need surgery on my left knee. After my
TBI was diagnosed, Ihad to attend cognitive rehabilitation for over 2years. Ialso had to attend
years of group and individual therapy for my PTSD. Istill attend therapy for PTSD and take
psychiatric medications. Iwill be treat ed for these conditions for the rest of my life.

Q. What are your doctors telling you about future surgeries?

A. That Imay require them. Currently, doctors at Baylor Scott and White Hospital in Temple,
Texas (where Ilive) say that Ineed afull left knee replacement and partial right knee replacement.
The VA also has said this, but they tell me I'm too young (46 years old). Iam currently working
to get this done. My left knee was damaged so badly and not repaired correctly after the Attack.

My left knee has become much worse since the Attack and has affected my right knee as well.

Q. What were your doctors telling you and your recovery and what your future would be like
after the Attack?

A. Ihave been told that my recovery would be difficult. The physical injuries Isustained (legs,
head, and knee injuries) would take time and my legs would never be the same. Iwill probably
struggle with symptoms of my TBI for the rest of my life. Iwas also told Iwould have to try and


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                                        1VIATTSON 007
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learn new ways of remembering things and recalling things. Iunderstand that Iwill suffer from
PTSD symptoms probably for the rest of my life. In fact, Istruggle with my PTSD currently.

Q. What happened to you after the Attack?

A. After Ireturned from this tour in November 2006, Istruggled. It took almost ayear to finally
get the Army to perform surgery on my left knee. Iunderwent left knee surgery, which took several
months to recover. Iwas forced to retire early from the Army with only years left to retirement.
Even after the surgery, my left knee has always hurt and Inever gained full motion again.

Ibegan treatment for my PTSD and TBI as well. The TBI rehab was difficult and although it taught
me afew new ways to deal with memory loss and processing, Istill struggle with these, and
migraine headaches. Iunderwent years of cognitive rehabilitation and the Army even issued me a
Personal Data Device ('PDD') to carry around to try and take notes because Iwould forget things
so easily.

Ihave tried so many different treatments for my PTSD. Icurrently take several psychiatric
medications and still undergo regular personal counseling. Ihave done individual as well as
multiple group counseling sessions since the Attack. Istruggled with alcohol due to my PTSD-
related depression and had to take arehabilitation course on alcohol dependency.

Iam awaiting surgery for afull left knee replacement and apartial right knee replacement. Iam in
constant pain every day and had to resign from my job and can no longer work. Iwas issued acane
for walking by the VA and multiple knee braces. Ihave done countless physical therapy sessions,
and undergo injections for both knees now, but can only get them every 3months. The injections
don't always help with my knee pain.

Q. What plans did you have for your future before the Attack?

A. Iplanned to retire from the military, first and foremost. Ihad plans of retiring at the age of 38
and pursuing acareer at the Postal Service to work on securing asecond retirement. Iplanned to
buy ahome with my now ex-wife and son. And to provide asecure future for my son.

Q. What activities did you enjoy doing before the Attack that you can no longer do?

A. Ienjoyed running outside and physical fitness generally. Ienjoyed reading and drawing as well.
Ialso enjoyed playing sports, mainly football and softball, and playing outside with my son.

Ican't run anymore. Ican't even run with my kids or play sports. Reading is difficult, it makes
my head hurt after avery short time, and Iget headaches. Drawing is difficult too. Ican only
draw for about 10-20 minutes at atime before my head hurts. Ienjoyed being physically active.
It's hard to stand or sit for extended periods, so Istruggle with travel also.

Q. What activities do you wish you could do that are not possible now?

A. Iwish Icould run and play with my kids. Ihaven't been able to do that in along time. Iwish I


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                                           MATTSON 008
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could work. Ihad to resign from my job at the Postal Service this year after 5years because I
couldn't take the pain of doing it every day. Iwish Icould get up and not be in pain. Iwish Icould
manage my thoughts and PTSD symptoms. Iwish Icould travel more, but that has become painful
and impossible.

Q. What activities can you still do, but you need help to do it?

A. Ican still walk, but Ineed the help of acane or braces. Ican still do things around the house
with help. Ican still drive, although driving long distances hurts my legs alot. Ineed help with
many tasks, especially those that require more thinking. Ialso need help controlling my temper
and anger.

Q. How does it make you feel to need help and to be dependent on others to do things that you
used to be able to do yourself?

A. Frustrated beyond words. Ijoined the Army at 17. Ideployed multiple times and have always
been aman who refused to quit and never wanted help. It makes me feel like aburden to those I
love and sick about myself and what Ihave become.

It is depressing, and has all but ruined my self-esteem and self-worth. Ifeel like less of aman,
and Istruggle every day with this. Ihave always been aproud man and asking for help with
things Inever needed help for just makes me feel ashamed.

Q. Where are you living now?

A. Ilive in Temple, Texas. Ilive in ahouse with my wife (I re-married after the Attack). Ifound
aplace in Temple because my kids are close. We had to find ahome that had no stairs because of
my legs. Ialso wanted to live in Temple because the VA Hospital is about 4miles from my
house. There are also several Scott & White specialty clinics here as well, specifically the Bone
and Joint Institute, where Iam currently attempting to set up my knee replacement surgery.

Q. Are you working? Is this the job you imagined you would have before the Attack?

A. Iam now unemployed. Iwas forced to resign from my job on August 14, 2022 for medical
reasons. Iworked for the United States Post Office as arural carrier for 5years and could no longer
do the job because Iwas in too much pain. Iloved that job. Working for the Post Office was always
part of my long term career plan.

Iimagined more at this point in my life. Inever wanted to be done working at my age (mid 40's).

Q. Would you please describe atypical day in your life now?

A. On atypical day, Iwake up in the morning and take my medications. Ihelp my wife get the
kids to school and then try to find things around the house to do. Itry and do things like cleaning,
laundry, yardwork or cooking. Basically, Ijust do household things. Itry to draw sometimes.




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                                          MATTSON 009
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Q. What ongoing healthcare are you receiving?

A. Itake several medications daily. Istill do individual counseling with the Post Combat Trauma
clinic for my PTSD. Istill receive regular steroid injections in both knees now and attend physical
therapy plans on arevolving schedule.

Ihave to use acane most days to walk and attend the VA for ongoing appointments to include
sleep apnea and repeated bloodwork because of the medications Iam on.

Q. What does the future look like for you?

A. The future for me is hard. Ihope that Iwill live long enough to see my youngest child graduate
high school (he's 6) and that Iwill someday not be in so much physical pain every day.

Ihope in the near future Ican get my knee replacements done and that it will help with my pain.
Unfortunately, Iwill probably never work again so Iam unsure what the future looks like.
Hopefully, Ican just take care of my wife and kids and do my best to contribute any way Ican for
them.

Q. What plans for the future do you have now?

A. Ihope to get knee replacement surgery but that may take some time. Everyone says I'm too
young for this procedure. It's ridiculous. For now, Ijust plan on trying my best to be agood dad
and husband. It requires effort, because of my mental issues, but Ithink that is all Ican do. Ijust
try my best to not be aburden on those Ilove.

           6.   The medical and military records attached to this Affidavit are true and correct

 copies of my military service records and medical records from the Army and my medical

 records from the Department of Veteran Affairs (WA').

           7.   Ireceived aPurple Heart due to injuries sustained in the Attack. As seen in my

 VA Disability Records, as aresult of the Attack Isustained the following injuries: PTSD causing

 alcohol abuse issues, aleft knee fracture resulting in surgery and chronic knee pain, left leg

 varicose veins, and aTBI. The VA rates my PTSD as 50% disabling; my left knee injuries as a

 combined 30% disabling. Overall, Iam rated 100% disab led by the VA. A true and correct copy

 of my VA disability ratings is on Page 11 below."




                                                10

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 Disabilities
                                  Total Combined Disability
                                                                                    Add Disaisifittea
                                  You have a80% final degree of
          80%                     disability. This percentage
                                                                                    Submit aclaim to make any
                                                                                    updates to the disabilities that you
                                  determines the amount of benefit
                                                                                    believe are related to your military
                                  pay you will receive_
                                                                                    service
                                   How is this calculated
                                                                                                               Apply N




  Rated Disabilities
   Disability                                       May         Decon                         Related To   Effective Date

      icluals of left calf shrapnel wound           0%          Service Connected                          12/30/2007

    esiduals left foot fracture                                 Not Service Connected

   posttraumatic stress disorder                    SO%         Service Connected                          12/30/2007

   residuais left knee liacture. status             10%         Service Connected                          09/13/2013
   postooerahve (prenousty rated as DC
   5257)

          !raornatic headaches                      0%          Service Connected                          01/01/2017

     u.   left eye bluntness                                    Not Service Connected

   corneal abrasion rigtit eye                                  Not Service Connected

   obstructive sleep apnea                          50%         ServIce Connected                          12/30/2007

   ieft leg varicose veins                          10%         Service Connected                          09/13/2013

   residuals of right snouldee 'Mahn cuff           10%         Service Connected                          I
                                                                                                           2/30/2007
   injury

   trillUMINK brain injury (T130                    10%         Service Connected                          09/29/2016

   residua:s left knee fracture status              10%         Service Connected                          12/30/2007
   postoperative

     L.   left knee sca ,                           0%          Service Connected                          09/13/2013




                                                            11

                                                     MATTSON 011
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"I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
    STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT."




SIGNED under oath before me on           Q--0 12O'9-

                                     Notary Public —State of Texas




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                                  MATTSON 012
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CAUTION: NOT TO BE USED FOR                                 THIS IS AN IMPORTANT RECORD.                                   ANY ALTERATIONS IN SHADED AREAS
IDENTIFICATION PURPOSES                                              SAFEGUARD IT.                                                       RENDER FORM VOID

                                       CERTIFICATE OF RELEASE OR DISCHARGE FROM ACTIVE DUTY
 I. NAME(Last, First, Middle)           "                   2. DEPARTMENT, COMPONENT AND BRANCH                                  3. SOCIAL SECURITY NUM BER
                         ,
MATTSON,.        JOSHUA DAVID                              ARMY/RA
 4a. GRADE, RATE•OR RANK                  b. PAYGRADE                 5. DATE OF BIRTH (YYYYMMDD)               6. RESERVE OBLIGATION TERMINATION DATE
                 , ,
S SG.                                   E06                          1976 1OM                                      (YYYYMIODD)00000000

7a. PLACE OF ENTRY INTO ACTIVE DUTY                                   b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete address if known)
TROY, MICHIGAN

                                                                    FLINT MICHIGAN             48507-0000
 8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND                                            b. STATION WHERE SEPARATED
0004 INHHC FC                                                                         FORT HOOD,           TX 76544-5056
 9. COMMAND TO WHICH TRANSFERRED                                                                                                 1O.SGLI COVERAGE                  NONE
N/A                                                                                                                                  AMOUNT: $4 00,000.00
11. PRIMARY SPECIALTY (List number, title and years and months in                       2. RECORD OF SERVICE                       YEAR(S)       MONTH(S)     DAY(S)
    specialty. List additional specialty numbers and titles involving periods of
                                                                                        a. DATE ENTERED AD THIS PERIOD             2005              01           27
    one or more years.)
88M30 MOTOR TRANSPORT OP - 2 YRS 11 MOS/ /                                              b. SEPARATION DATE T IS PERIOD             2007              12           29
NOTHING FOLLOWS
                                                                                        c NET ACTIVE SERVICE THIS PERIOD            0002             11           03
                                                                                        d. TOTAL PRIOR ACTIVE SERVICE               0008             09           09
                                                                                        e. TOTAL PRIOR INACTIVE SERVICE             0000             00           00
                                                                                        f. FORE GN SERV CE                          0000             11           2
                                                                                        g. SEA SERVICE                              0000             00           00
                                                                                        h. EFFECTIVE DATE OF PAY GRADE             2007              12           29
 13. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN                               14. MILITARY EDUCATION (Course tido, number of wccks, and month and
     RIBBONS AWARDED OR AUTHORIZED (A II periods of service)                               year completed)
PURPLE HEART/ /ARMY COMMENDATION MEDAL (3RD                                           COMBAT LIFE SAVERS CRS, 1 WEEK, 2005/ /NOTHING
AWARD) //ARMY ACHIEVEMENT MEDAL (7TH AWARD) //                                        FOLLOWS
ARMY GOOD CONDUCT MEDAL (3RD AWARD) //NATIONAL
DEFENSE SERVICE MEDAL (2ND AWARD) //ARMED
FORCES EXPEDITIONARY MEDAL //GLOBAL WAR ON
TERRORISM SERVICE MEDAL/ /IRAQ CAMPAIGN MEDAL
//NON COMMISSIONED OFFICERHCONT IN BLOCK 18
 15a MEMBER CONTRIBUTED TO POST-VIETNAM ERA VETERANS' EDUCATIONAL ASSISTANCE PROGRAM                                                                  YES     x        NO
   b. HIGH SCHOOL GRADUATE OR EQUIVALENT                                                                                                     -
                                                                                                                                                 X    YES              No
 16     DAYS ACCRUED LEAVE              17   MEMBER WAS PROVIDED COMPLETE DENTAL EXAMINATION AND ALL APPROPRIATE                                             YES       NO
        PAID 8                               DENTAL SERVICES AND TREATMENT WITHIN 90 DAYS PRIOR TO SEPARATION
                                                                                                                                                                       X
 18 - REMARKS
SERVED IN A DESIGNATED IMMINENT DANGER PAY AREA/ /SERVICE IN IRAQ 20051125 -20061117//MEMBER
HAS COMPLETED FIRST FULL TERM OF SERVICE/ /CONT FROM BLOCK 13: PROFESSIONAL DEVELOPMENT
RIBBON//ARMY SERVICE RIBBON//OVERSEAS SERVICE RIBBON//COMBAT ACTION BADGE//DRIVER AND MECH
BADGE      wiTH DRIVER -
                    TRACKED VEHICLE (S) CLASP //NOTHING FOLLOWS




                                                                                                          -



 The information contained herein is subject to computer matching Ithin the Department of Defense or with any other affected Federal or non-Federal agency for
 verification purposes and to determine eligibility for, and/or continued compliance with, the requirements of aFederal benefit program,
 19a. MAILING ADDRESS AFTER SEPARATION (Include ZIP Code)                               b. NEAREST RELATIVE (Name and address -. include ZIP Code)
                                                                                       JUDITH K. MATTSON

KILLEEN TEXAS             76543                                                       LENNON MICHIGAN 48449
 20. MEMBER REQUESTS COPY 6BE SENT TO                               TX                 DIRECTOR OF VETERANS AFFAIRS                              X    YES              NO
 21. SIG     T    E OF         BER BE        SEPARATED                22. OF        IAL AUTHORIZED TO SI         Typed name, grade, title and signature)


                                                                      BRUC         JEFFER                807,         HR ASST TRANS              CENTER


      /                                      SPECIAL ADDITIONAL INFORMATION (For use by authorized agencies only)
 23. TYPE OF SEPARATION                                                                 24. CHARACTER OF SERVICE (Include upgrades)
RETIREMENT                                                                             HONORABLE
 25. SEPARATION AUTHORITY                                                               26. SEPARATION CODE                     27. REENTRY CODE

AR 635-40,          PARA 4-24B (2)                                                     SFK                                     4
 28. NARRATIVE REASON FOR SEPARATION
DISABILITY,           TEMPORARY
 29. DATES OF TIME LOST DURING THIS PERIOD (YYYYMMDD)                                                                           30. MEMBER REQUESTS COPY 4
                                                                                                                                    (Initials) wpm
NONE
                                                                         PREVIOUS EDITION IS OBSOLETE.
 DD FORM 214-AUTOMATED, FEB 2000                                           GENERATED BY TRANSPROC                                                          SERVICE-2



                                                                             MATTSON 013
                                         Case 1:19-cv-03003-JMC-MJS     Document 51-19       Filed 06/02/23   Page 15 of 41




                         THE UNITED STATES OF AMERICA
                                   TO ALL WHO SHALL SEE THESE PRESENTS, GREETING:

                                               THIS IS TO CERTIFY THAT
                                   THE PRESIDENT OF THE UNITED STATES OF AMERICA
                                                  HAS AWARDED THE

                                                            PURPLE HEART
                                   ESTABLISHED BY GENERAL GEORGE WASHINGTON
                                      AT NEWBURGH, NEW YORK, AUGUST 7, 1782
                                                      TO
                                                      SERGEANT JOSHUA D. MATTSON

                                                            FOR WOUNDS RECEIVED
                                                                  IN ACTION
                                              GIVEN UNDER MY HAND IN THE CITY OF WASHINGTON
                                                                THIS 29TH DAY OF JUNE 2006




                                            i)
                                  JAMES D. THU
                                  Major General, USA
                                  Commanding                                  F
                                  Permanent Order 180-047


DA FORM 4980-10 (WT), JAN 2000.                                            MATTSON 014
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j                                    DEPARTMENT OF THE ARMY
                    HEADQUARTERS, MULTI-NATIONAL DIVISION (BAGHDAD)
                                  CAMP LIBERTY, IRAQ
                                     APO AE 09344




    PERMANENT ORDERS # 180-047                                                          29 June 2006


    MATTSON, JOSHUA D.                     SGT, Alpha Company, 204th Forward Support Battalion
    (WJAZAO), 2nd Brigade, 4th Infantry Division APO AE 09329


    Announcement is made of the following award:


    Award: Purple Heart
    Date(s) or period of service: 15 May 2006
    Authority: AR 600-8-22, paragraph 2-8, MNC-I Memorandum, Subject: Delegation of Wartime Awards
    Approval Authority-Multi-National Corps-Iraq and Subordinate Units dated 26 April 2005
    Reason: For wounds received as aresult of hostile enemy action.
    Format: 320


    FOR THE COMMANDER:




                                                                     HELPS
                                                     CPT AG
                                                     Chief of Operations, G1




    DISTRIBUTION:
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    1-CDR, HQDA, ATTN: AHRC-MSR, 200 Stovall St., Alexandria, VA 22332-0444 (Officer)




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                                                 - ATTSON 015
1. TART NIA& T             - ir -
             .;IT NANIE "Nom    ini744                                  --           RANK7AACE         Case      1:19-cv-03003-JMC-MJS
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            Case 1:19-cv-03003-JMC-MJS                           Document 51-19                  Filed 06/02/23            Page 18 of 41
  HEALTH RECORD                                            CHRONOLOGICAL RECORD OF MED.,tL CARE



            Patient: MATTSON, JOSHUA                      Date: 21 May 2006 1532 AST                   Appt Type: ROUTN
            Facility! WJAZCO                              Clinic: C 204TH BAS                          Provider: storrielli, kathleen



           AutoCites Refreshed by stomelli_kathleen a 22 May 2006 0004 AST
           Problems
           SUPERFICIAL INJURY -ABRASION OF HANDS
           SUPERFICIAL INJURY -ABRASION OF CORNEA
           CORNEAL FOREIGN BODY -RIGHT EYE
           CORNEAL FOREIGN BODY
           ASSESS PATIENT CONDITION WORK-RELATED OCCUPATIONAL DISEASE

           Active Medications

           Medication Name                                      Status         Sig                                       Refills Last Filled
           ISUPR'1.7EN (MOTRIN)—PO 30OMG TAB                    Active         Ti TB PO TID WI': OR MILK                         19 Mar 2006


           Allergies
           Patient has no known allergies



           Screeninn Written by STACKHOUSE. CYNTHIA a 21 May 2006 1532 AST

           Appointment Reason For Visit: Unspecified Reason for Visit:

           Selr•Icted Reason(s1 For. 'v'isit!
           Unspecified Reason For Visit (New) Comments: F/U Shrapnel in Lcalf
           Vitals
           Vitals Written by little, nichoias @ 21 May 2006 1541 AST
            BP: 147/64, HR: 103, RR: 28, T: 97.1 °F, HT: 75 in, WI: 245 lbs, 02: 99, BUIL 30,62, BSA: 2.392 square meters, Tobacco Use:
           Yes, Alcohol Use: No, Pain Scale: 7/10 Severe, Pain Scale Comments: left leg


           SO itele Yil=gizy_stornaliL kathlean @22 May 2006 0015 AST
           )4istory °forwent Illness
                The Patient is a29 year old male
                •Encounter Background Information: 29 yo AD male, with left leg calf pain since 'shrapnel' incident 6days ago. since than
           he was on quarters for 48 hours, than         to work... he's been doing office work, walking to and fro oath day.. stopped using
           crutches yesterday due to near fall with them, and today without crutches pain worsening with weight bearing, his baseline pain
           has been 5-6/10, and has had sever!! episodes today (gi6), of sharp radiating pain from calf to thigh, 8-10/10, lasting seconds... no
           particular trigger- one episode while pt lying in bed watching movie. pt. taking naprosyn and vicodin for pain...

           Physical findings
           Ocnoral appoarance:
                •General appearance: moderate distress

           Musculoskeietal system:
               General/bilateral: •rviuscuioskeietai system: antalgic gait; left calf swollen diffusely, diffuse mild bruising; not tense to palp.
                    ttp, worse with passive OF and active PF. strength 4/5 of PFon left (seems limited by pain), 5/5 DF, inversion,eversion.;
                    symm sens to pinprick L4-S1.. achilles reflex brisk and symmetric, hip flexion 5/5, knee ext/flex 5/5.. ttp at medial
                    hamstring insertion. poor hamstring flexibility

           Tests
                Imaging studies ap/lat of distal femur and tibia: no change in shrapnel locations it seems.. normal bony architecture




           A/P Written by stomelli, kathieen a 22 May 2006 0018 AST
           1. pain in the lea (below the knee)

Name:MATTSON, JOSHUA
                                                Sex:      M                              Sponsor:         MATTSON, JOSHUA
TmSSN.                                          Tel II:                                  Rank:            SEROEANT E5-A
b013 .       MOct 1976                          Tel W:                                   Unit:            WJAZAO
'tCat'       All USA AD                         CS:                                      Outpt Rec. Rm:
     St.tug:                                    WS:                                      PCM:
   ttrancc: No                                                                           Tel. PCM:
                                                                          CHRONOLOGR_AE RECORD ON-MEDICAL CARE                  STANDARD FORM 600 (REV. s)
                                                                                                                                Prescribed by GSA and 1CMR
                                                                                                                                FIRMIZ (41 CFR) 201-45.505
                     THIS INFORMATION IS PROTFCTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS
                         TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.

                                                                                                                                                     Page 1of 2
                                                                     MATTSON 017
             Case 1:19-cv-03003-JMC-MJS                        Document 51-19               Filed 06/02/23           Page 19 of 41
  HEALTH RECORD                                        CHRONOLOGICAL RECORD OF I1/                       ICAL CARE



          Patient: MATTSON, JOSHUA D                  Date: 24 May 2006 0759 AST                  Appt Type: ROUTN
          Facility: 10th CSH NORTH (WBH3A0)           Clinic: CHCSII-T Clinic                     Provider: Park, James



          AutoCites Refreshed by Park, James 0 24 May 2006 0955 AST
          Problems
          CORNEAL FOREIGN BODY -RIGHT EYE

          Active Medications
          No Active Medications Found.
          Allergies
          Patient has no known allergies



          Screening Written by kerwin, Thomas      ≥24 May 2006 0759 AST

          Appointment Reason For Visit: Consultation With Internist;

          Selected Reason(s) For Visit:
          Consultation With Internist (New) Comments: Pt was referred to see internal Medicine MD.
          Vitals
          Vitals Written by marconett, zachary 0 24 May 2006 0701 AST
           BP: 137/73, HR: 97, RR: 17, T: 98.6 ?F, 02: 98, Tobacco Use: Yes, What type of tobacco product? cigarettes, Amount of tobacco
          product used per day: 20/day, Would you like to quit? Yes, Pain Scale: 6/10 Moderate


         SO Note Written by Park. James al 24 May 2006 0846 AST
         History of present illness
               The Patient is a 29 year old male.
               ? Encounter Background Information: 29 y/o male s/p EID injury with shrapnel to LLE c/o contiuned pain. Referred by his MD
         at his FOB for r/o DVT

         Physical findings
         Vital signs:
               ? Normal.
         Standard Measurements:
               ? Normal.
         General appearance:
              ? Normal.
         Musculoskeletal system:
              General/bilateral: •Musculoskeletal system: + pain to flexion of ankle. + homans sign. + edema L>R, scattered lacerations
                    from sharpnel.




         A/P Written by Park, James    24 May 2006 0955 AST
         1. violent traumatic event aterrorist attack
          Comments: S/p Sharpnel and soft tissue injury to LLE. Flu with FOB doctor. US L—> neg for DVT



         Disposition Written by Park. James e 24 May 2006 0956 AST
         Released Without Limitations
         Discussed: Diagnosis, Medication(s)/Treatment(s), Alternatives, Potential Side Effects with Patient who indicated understanding.
         Injury & Illness: Work Related; Onset Date: 5/24/2006; Battle Related; Category: All Other, Medical/Surgical Cause: Battle
         Injury/Illness
         Appointment Class: Outpatient
         E&M Code: 99212 -Estab Outpatient Focused H&P -Straightforward Decisions


         Signed By (& 24 May 2006 0956
                           Park, James
                           10th CSH NORTH (WBH3A0)


Name: MATTSON, JOSHUA DAVID
                                            Sex:                                   Sponsor/SSN:      MATTSON, JOSHUA DAV1D/373806097

FMP/SSN: 20/373806097                        Tel H:   254-213-2315                  Rank:            SERGEANT
           18 Oct 1976                       Tel W:   254-288-0479                  Unit:            WJAYAOFC
  :at:     A11.2 USA ACTIVE DUTY             CS:                                    Outpt Rec. Rm:   BAS 204 FSB 4ID FILEROOM
           ENLISTED
MC Status: TRICARE PRIME (ACTIVE DUTY)       SWS:                                  PCM:              JOHNSON,ROBERT J
Insurance: No                                                                      Tel. PCM:         618-8767
                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                        STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF         MiliklANAUTHORIZED ACCESS                                 Prescribed by GSA and 1CMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAW .   A ilDigS WILL BE PROSECUTED.                                F1RMR (41 CFR) 201-45.505
                                                                                                                                             —    • —
              Case 1:19-cv-03003-JMC-MJS                     Document 51-19               Filed 06/02/23           Page 20 of 41
   Radiology Results (Last 10)            MATTSON, JOSHUA DAVID                                      FMP:20            SSN:373806097
   Age:30yo                 DOB:18-Oct-1976           Gender:M



    MATTSON,    JOSHUA DAVID             20/XXX-XX-XXXX                   30yo         18 Oct 1976


                      **********         LEG    (TIB/FIB),          LT       **********


 POC   Enc:   #E767349       POC    Fac: Carl R Darnall                  Medical       Center   Ft    Hood,       TX
                                       Status: Complete

 Procedure:                                     LEG (TIB/FIB), LT
 Event Date:                                    01-Dec-2006 06:55:00
 Order Comment:                                 NO    BRIEF COMMENT
 Reason for Order:
     yo male took shrapnel           to       left    calf    in i raq,          not   removed at      the    time.     Pt
 continues     to have pain    . Please          eval.
 Exam #:                                        06116470
 Exam Date/Time:                                13-Dec-2006          08:03:00
 Transcription Date/Time;                       13-Dec-2006          13:56:00
 Provider:                                      SHUNK,       BRIAN       R
 Requesting Location:
     MONROE HEALTH CLINIC                     MONROE TROOP MEDICAL CLINIC
 Status:                                        COMPLETE
 Result Code:                                   SEE RADIOLOGIST'S               REPORT
 Interpreted By:                                BANKS, KEVIN P
 Approved By:                                   BANKS, KEVIN P
 Approved Date:                                 14-Dec-2006 17:54:00
 Report Text:
     LEFT TIB/FIB SERIES          DATED        13    DECEMBER.

       INDICATIONS:      Shrapnel    injury in             Iraq.    A 30-year-old male.              Continued pain.

       TECHNIQUE:    Two views      of    the       left    tibia    and      fibula.

       FINDINGS: Examination of the osseous structures demonstrate normal appearance.
       There is no fracture, dislocation or other acute or acquired abnormality. There
       is a 4 mm piece of shrapnel seen involving the dorsal medial aspect of the calf.
       No other radiopaque foreign bodies present.

       IMPRESSION:    Single   4 mm piece             of   shrapnel          in the dorsal medical            calf.

       Dictated on    12/13/2006         at    1120    hours.

       raw

   MATTSON,     JOSHUA DAVID             20/XXX-XX-XXXX                  30yo          18 Oct 1976            M


                      **********         LEG    (TIB/FIB),          LT   **********
 POC Enc:     #E767349      POC     Fac: Carl R Darnall                  Medical Center         Ft    Hood,    TX
                                       Status: Complete

 Procedure:                                    LEG (TIB/FIB), LT
 Event Date:                                   13-Dec-2006 08:04:00
 Order Comment:                                NO BRIEF COMMENT
 Reason for Order:                              f/u IED injury
 Exam #:                                        06121011




 THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1NOIT-g091.18NAUTHORIZED ACCESS TO THIS
INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.
           Case 1:19-cv-03003-JMC-MJS                        Document 51-19            Filed 06/02/23          Page 21 of 41
   HEALTH RECORD                                         CHRONOLOGICAL RECORD OF MEDICAL t.-Ftruu,
  04 Jun 2007 0907              Facility: Darnall Army Community Hospital        Clinic: DACH COUSENL CNTR PSYCHOLOGY        Provider:
                                HOPEWELL,CLIFFORD A

            120 minutes face-to-face/floor time..


            Note Written by HOPEWELL, CLIFFORD A O. 04 Jun 2007 1044 CDT




            Chief complaint

                     This Service Member presented at the Resilience and Restoration Center with questions regarding possible
            concussion. This constitutes ascreening examination for postconcussive syndrome in coordination with the
            CRDAMC brain injury treatment team.

           History of present illness

                   This service member was referred by COL Quirk as part of his MED process and complains of one or more
           concussive episodes. He has since been transferred to CPT Gumboc, but she will shorlty PCS.



           Past medical history

                     Past medical history, specifically history available in AHLTA, was reviewed. This history was felt to be
           consistent with concussion.

                     He describes once per week headaches in which his right eye vision becomes blurry and he has throbbing
           pain behind both eyes. He is sometimes nauseated. His headaches can last two days, He had shrapnel removed from
           his right eye after an IED/EFP blast and he now has great difficulty driving at night. His left calf pain has increased
           greatly; when he is downstairs, he describes calf pain as 10/10. When he is going upstairs, he describes about 8/10
           left knee pain. He feels he is more "snappy" at work, although he feels Neurontin is helping him be less irritable than
           he could be. Pt states his wife says he "snores alot" and he wakes up unrefreshed from sleep. Mother and brother
           suffer from OSA. A sleep study was ordered, but Isee no current results. Neuropsychological testing was also
           ordered to establish abaseline evaluation of his frontal lobe function, which he describes as severely deteriorated
          after an EFP explosion in May 2006 that resulted in 2-3 minutes of LOC. A Neurology consultation was also
          ordered. He also sees Ms. CalCosIcy for PTSD group issues.

          Pain history

                  Past pain history, specifically history available in AHLTA, was reviewed. This history is contributory for
          headache pain, and the SM is being treated and educated for pain.

          Medication

                     Past medication history, specifically history available in AHLTA, was reviewed.

                   Active Medications                           Status               Sig          Refills Left       Last Filled
          TRAZODONE HCL, 50MG, TABLET,                       Refill         Ti TB PO QHS #30 RF2 0of 2               14 May
          ORAL                                                                                                       2007
          PROPRANOLOL HCL, 40MG, TABLET,                     Refill         T1 TAB PO BID              2of 3         14 May
          ORAL                                                                                                       2007
          ISOMETHEPTENE/APAP/DICHLPHEN,                      Refill         T2 CAPS AT ONSET OF 1of 2                14 May
          CAPSULE, ORAL                                                     HA ,THEN 1CAP QH                         2007
                                                                            *MAX OF 5PER 12 HRS •

Name: MATTSON, JOSHUA DAVID
                                               Sex:                                Sponsor/SSN:     MATTSON, JOSHUA DAVID/373806097
FMP/SSN:11111111111111111                      Tel H:   213-2315                   Rank:            SERGEANT
DOB:          Oct 1976                         Tel W:   286-6535                   Unit:            WJAYAO   (0004 CS BN DIST CO A)
PCat:      A11.2 USA ACTIVE DUTY               CS:                                 Outpt Rec. Rm:   MEDICAL EVALUATION BOARDS
           ENLISTED
MC Status: TRICARE PRIME (ACTIVE DUTY)         SWS:                                PCM:             JOHNSON,ROBERT J
Insurance: No                                                                      Tel. PCM:        618-8767

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                             Facility: 59th Medical Wing
             Case 1:19-cv-03003-JMC-MJS
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                            MERCADO, JANYNA M

                  Reason(s) For Visit (Chief Complaint):
                  Comments: PT is an OIF soldier seen for full np eval from ft. hood for med board proceedings.


                  Vitals
                  Vitals Written by MERCADO. JANYNA M a 05 Jul 2007 0919 CDT
                   Pain Scale: 3/10 Mild

                  A/P Written by MERCADO, JANYNA M @ 05 Jul 2007 1231 CDT
                  1. POSTCONCUSSION SYNDROME
                            Procedure(s):     -Psychiatric Evaluation Comprehensive Examination x 1
                                              -Psychometric Neuropsych Testing Battery Admin By Physician x2
                                              -Psychometric Neuropsych Testing Battery Admin By Technician x4
                                              -Psychometric Neuropsych Testing Battery Admin By Computer x 1
                 2. COGNITIVE DISORDER
                           Procedure(s) .  -Psychiatric Evaluation Comprehensive Examination x 1
                                           -Psychometric Neuropsych Testing Battery Admin By Computer x1
                                           -Psychometric Neuropsych Testing Battery Admin By Physician x2
                                           -Psychometric Neuropsych Testing Battery Admin By Technician x4
                 3. CHRONIC POST-TRAUMATIC STRESS DISORDER
                         Procedure(s):     -Psychiatric Evaluation Comprehensive Examination x 1
                                          -Psychometric Neuropsych Testing Battery Admin By Computer x 1
                                          -Psychometric Neuropsych Testing Battery Admin By Physician x2
                                          -Psychometric Neuropsych Testing Battery Admin By Technician x4


                Disposition Written by MERCADO, JANYNA M a 05 Jul 2007 1231 CDT
                Released w/o Limitations
                Discussed: Diagnosis, Medication(s)/Treatment(s) -Comments: Discussed priliminary results of neuropsych testing with patient.


               Note Written by MERCADO, JANYNA M a 05 Jul 2007 1230 CDT
                                                   NEUROPSYCHOLOGICAL EVALUATION

               Date of Testing: 02 July 2007
               Date of Report: 02 & 03 July 2007

               Reason for Referral: SGT Joshua D. Mattson, 20/XXX-XX-XXXX, is a30 year old right handed
              WM who was referred for acomprehensive neuropsychological evaluation by COL Quirk,
              Darnall Hospital Psychiatrist. COL Quirk initiated a medical board for patient's diagnosis of
              Posftraumatic Stress Disorder. COL Quirk is also concerned about SGT Mattson's current
              cognitive functioning due to the cognitive changes that patient has experienced since returning
              from theatre.

              SGT Mattson was injured in Operation Iraqi Freedom on 15 May 2006. Patient was the driver in
              a PLS (10 ton truck), when an IED (four charge EFP) detonated about three feet from the
              vehicle's passenger door. SGT Mattson ,slast memory prior to the IED detonating was driving
              on the road and then seeing aflash of light. He estimates that he suffered aloss of
              consciousness of approximately 2-3 minutes. During the time he was unconscious, he was told
              that asecond IED detonated in the truck located directly behind his. SGT Mattson has no
              recollection of hearing or seeing the second explosion. Patient's first memory after regaining
             consciousness was feeling aburning sensation in his legs caused by the shrapnel that entered
             the vehicle through the passenger door where the IED detonated. He recalls seeing his legs
             saturated in blood. Patient recalled having to wait at the scene until the EOD had cleared the
             area. From the site of the blast, he arrived at Camp Najaf about four hours post injury. At the
             aid station SGT Mattson was given Morphine and does not have recollection of events that

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DOB:         MOet 1976                          Tel W:   254-286-6535                             Unit:            WJAYAO   (0004 CS BN SUPPLY CO FSB)
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MC Status: TRICARE PRIME (ACTIVE DUTY)          SWS:                                              PCM:             JOHNSON,ROBERT J
...nsurance: No                                                                                   Tel. PCM:        618-8767
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                                I MERCADO, JANYNA M


                  occurred there. He was admitted over night at the aid station and released with crutches the
                  next day. He was placed on light duty at his Camp and was sent home in July 2006 for mid-tour
                  leave. Upon returning to theatre, he was on light duty for about one month and then sent back
                  out on missions. SGT Mattson visited the combat stress clinic upon returning to theatre several
                 times because his fellow soldiers noticed "odd behaviors" that patient was engaging in. For
                 example, SGT Mattson's roommate walked into their room one day and found patient cleaning
                 each bullet in his gun. Patient has no recollection of this event. Patient was also experiencing
                 nightmares that were very disturbing to him. Providers in theatre found him capable and able to
                 return on missions with his unit. In August 2006, patient was involved in his second explosion
                 during which mortar rounds detonated about 40 feet away from patient's position. Patient
                 returned to CONUS with his unit in November 2006.

                SGT Mattson reported cognitive changes which began after his involvement in the May 2006
                IED blast. Cognitive sequelae for patient includes difficulties with short-term memory and
                difficulties learning new information. For example, his wife will send him to the grocery store
                and he will forget what she asked him to buy. Events of this nature occur on adaily basis for
                SGT Mattson. His coping strategy has been to write down his daily appointments and errands.
                He also reported difficulties with attention and concentration since his involvement in the blast.
               SGT Mattson also suffers from headaches that occur about 3-4 times per week. He reported
               that the headaches last anywhere from one hour to all day. They also vary in intensity. His
               average pain is a5-6. At times the headache pain does intensify to an 8-9. He was prescribed
               Midrin for his headaches which patient reports has been effective. SGT Mattson's cognitive
               sequelae and daily headaches are consistent with the course of symptoms found in patients
               with Postconcussive Syndrome.

               SGT Mattson also reported experiencing significant emotional sequeale. SGT Mattson's
               affective difficulties have been extensively reviewed and evaluated by COL Quirk, Psychiatrist
               at Ft. Hood, who diagnosed patient with Posttraumatic Stress Disorder. Patient is currently
              treated by Psychiatry at Ft. Hood for his PTSD which he reports is very helpful to him. In
              addition to SGT Mattson's cognitive and emotional sequeale since returning from theatre, he
              was also diagnosed with sleep apnea and was prescribed aCPAP machine. Patient reports that
              he does wear it at night but will at times wake up without it on because he will remove it in his
              sleep. Patient's wife reports that he is very restless in his sleep at times.

              Current Medications: Trazodone HCL 40mg; Gabapentin 600mg; Prazosin HCL, 5mg;
              Citalopram Hydrobromide 40mg; Simvastatin 20mg; Propranolol HCL 40mg; Mucpirocin 2%
              ointment; Chlorhexidine Gluconate 4%; lsomethept/Acetaminophen

              Diagnostic Impression: DSM IV:
                                  Axis I: 294.9 Cognitive Disorder, (mild) Secondary to Blast Injury
                                           309.81 Posttraumatic Stress Disorder, Chronic

             Summary and Recommendations: The current neuropsychological evaluation occurs to
             assess SGT Mattson's neurocognitive function. This assessment occurs approximately 14
             months status post the blast injury he suffered while serving in 01F. His test results revealed
             overall average to borderline intellectual abilities and generally commensurate performance
             across most domains assessed. SGT Mattson's higher level executive functioning abilities (e.g.
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             Case 1:19-cv-03003-JMC-MJS
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                                       MERCADO, JANYNA M


                   ability to plan, organize, follow through on tasks, novel problem solving, cognitive flexibility, and
                  abstraction), were slightly impaired. His memory and ability to learn new information was slightly
                  below average. SGT Mattson's attention was impaired on atest of attention/concentration.
                  Overall, patient is suffering from amild cognitive impairment at the time of this evaluation, in
                  addition to the Posttrauatmic Stress Disorder that he was diagnosed with by his psychiatrist at
                  Ft. Hood, Texas. Patient put forth good effort during this evaluation and results are agood
                  indicator of his current cognitive functioning.

                         1.     The patient obtains a Full Scale Wechsler Adult Intelligence Scale-Ill (WAIS-Ill) IQ
                                score of 91 which falls in the Average range of general intellectual functioning. His
                                Verbal IQ was an 89, falls in the Low Average range. His Performance IQ score of 97
                               falls in the Average range. Generally commensurate performance was noted across
                               other indexes of intellectual abilities_ His strengths were his verbal comprehension
                               abilities (VCIndex score = 93 Average) and his visuospatial abilities (POIndex score =
                               99 Average). SGT Mattson's most prominent weakness was seen in his slowed speed of
                               processing information (PSIndex score = 71 Borderline). His working memory, ability to
                               hold information in memory and mentally manipulate the data to come up with a
                              solution, was in the Low Average Range. SGT Mattson's pattern of test scores are
                              consistent with what is seen in patient's who are suffering from Postconncussive
                              Syndrome, which appears to be the case for this patient. His slowed speed of
                              processing information and decreased working memory coupled with intact language
                              abilities are commonly seen in patient's who have a mild TBI. Overall, SGT Mattson
                              does appear to be suffering from a mild cognitive disorder at the time of this evaluation.

                    2.      SGT Mattson's attentional skills were impaired on atest of attention/concentration
                            (Conners' Continuous Performance Test — CPT). Test results revealed that his response
                            style became slower and more erratic when the stimulus presented slowed, indicating
                           that patient's ability to adjust to changes in task demands is inefficient. Overall, there is
                           evidence to suggest that SGT Mattson is experiencing attention problems which are
                           impacting his daily life due to his difficulty adjusting to changes in task demands. SGT
                           Mattson's memory skills and ability to learn new information were also impaired on
                           several measures.

                   3.      SGT Mattson obtained aHalstead-Reitan Battery (HRB) Impairment Index score of 0.6,
                           which is in the mild generalized neurocognitive functioning. Specifically, patient's
                           performance on the Category test (an executive function measure), an auditory
                           processing test and amotor speed test were all in the impaired range.

                  4.      Specifically, SGT Mattson demonstrated bilateral LIE psychomotor slowing. His
                          performance on the Category Test, atest of higher level executive functions which
                          measures abstract reasoning, problem solving, concept formation, and organized
                          memory (i.e. memory in practical, complex, and every day situations) was impaired. The
                         Category Test is one of the best measures on the Halstead-Reitan Battery of
                         abstraction, reasoning, and logical analysis abilities, which are abilities essential for
                         organized planning. On the Wisconsin Card Sorting Test, his overall performance was
                         within normal limits with the exception of his failures to maintain set which mean that he
                         struggled staying on task and was unable to engage in mental set shifting. However he
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DOB:       IlOct 1976                          Tel W:   254-286-6535          Unit:            WJAYAO   (0004 CS BN SUPPLY CO FSB)
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                             Facility: 59th Medical Wing Lackland AFB, TX 78236
        02 Jul 2007 0743
             Case 1:19-cv-03003-JMC-MJS
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                                                                                06/02/23       Page 25 of 41 Provider:

                                 was able to complete all six categories required. SGT Mattson was administered several
                                 measures specifically designed to detect suboptimal effort or exaggeration of
                                 symptoms. There is no evidence from these measures to call into question the validity
                                 of the aforementioned findings.

                          5.      SGT Mattson appears to be experiencing affective difficulties which are contributing to
                                  his clinical presentation and aggravating his cognitive inefficiencies (i.e. attention skills,
                                  memory abilities, and executive function). Specifically, results of the Beck Depression
                                  Inventory-II (BDI-II) indicate that he is experiencing severe symptoms of depression,
                                 which were further supported by his responses on the Personality Assessment Inventory
                                 (PAI). For example, on the BDI-II, SGT Mattson endorsed items confirming feelings of
                                 sadness, pessimism, annhedonia, crying often, increased irritability, changes in sleep
                                 pattern, and increased fatigue. On the PAI patient endorsed items consistent with his
                                 diagnosis of Posttraumatic Stress Disorder and aMajor Depressive episode. The PAI
                                that SGT Mattson completed resulted in avalid clinical profile which confirms that this
                                profile can therefore be interpreted. However due to an elevation on one of the validity
                                scales (NIM) it is evident that patient endorsed many items in which he may have been
                                exaggerating his symptoms. In this case, his NIM elevation does not make the test
                                uninterpretable, instead it appears to be acry for help due to his multitude of affective
                               difficulties. From the clinical interview, SGT Mattson appeared lethargic, hypervigilant,
                               and anxious. Patient also elevated the Anxiety Scale on the PA!. His responses
                               indicated that he is an individual who is experiencing adiscomforting level of anxiety and
                               tension. The primary manifestation of his anxiety appeared to be in the physiological or
                               somatic modality. SGT Mattson is currently being treated by Psychiatry at Ft. Hood and
                               is being stabilized on psychotropic medications as well as receiving individual therapy to
                               assist him in learning effective strategies to cope with his depression and anxiety which
                               he attributes to his recent traumatic combat experience.

                        SGT Mattson is encouraged to continue on his medication regimen to help alleviate his
                        posttraumatic stress disorder symptoms and symptoms of depression. Continued
                        psychiatric services at Ft. Hood are highly recommended in order to continue treatment and
                        monitoring of his medications for his depressive symptoms and Posttraumatic Stress
                        disorder symptoms as well. He would also be an appropriate candidate for cognitive
                        behavioral therapy in order to learn coping strategies (i.e. relaxation techniques) to alleviate
                       his anxious depression. Once his affective difficulties are alleviated with his treatment, he
                       may see some improvement in his cognitive abilities. However, typically one year post a
                       mild traumatic brain injury we expect to see the most cognitive improvement occur. Since it
                       has been 14 months post SGT Mattson's injury, it is likely that the improvements seen are
                       not going to be drastic, but instead he will learn effective coping strategies to help him cope
                       with his cognitive impairments.

              From a Neurocognitive standpoint and given the neurocognitive inefficiencies present, SGT
             Mattson may not be a candidate to remain on active duty based on the results of the current
             evaluation. His mild cognitive impairment is affecting his day to day activities. His executive
             impairments prevent him from functioning in the duties of his MOS which would require good
             judgment, attention skills, reasoning skills, and multitasking abilities. This is further complicated
             by the fact that SGT Mattson is suffering from affective difficulties that require proper medical
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                  treatment and psychotherapy. His mild difficulty with various cognitive abilities is likely to
                  interfere with his ability to maintain gainful employment in the near future. He would benefit
                  from learning coping strategies to be able to manage his depression and PTSD. Patient would
                  also benefit from brief psychotherapy (i.e. Cognitive Behavioral Interventions) in order to
                  address his unresolved stress-related symptoms (i.e. depression and PTSD).

                  The results of this evaluation can be used as a baseline against which to measure this patient's
                  future functioning if needed, and test scores are appended for this purpose.

                  Background Information:
                 SGT Mattson was born in Flint, Michigan. He has one older brother and one younger sister. He
                 was and average (B & C) student. He denied a history of learning disabilities, attention
                 difficulties and of grade failures. He graduated high school in 1994 and joined the Army. He
                 completed his basic training at Ft. Jackson and his AIT at Ft. Lee. His initial MOS in the Army
                was 92A — Supplies. His first duty station was Ft. Stewart and the Ft. Irwin. Patient spent nine
                years on active duty and then separated. He recently re-activated in the Army and his new MOS
                is 88M — truck driver. He reported that he wife had received orders to be deployed to Iraq and
                he immediately joined to file the for the family care program for their son. SGT Mattson was
                then deployed and his wife was able to stay to care for their son. Patient also reported that he
                has afour year old son from his first marriage. Patient reported that he drinks about acase of
                beer per week. He smokes about % of a pack of cigarettes per day.




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                     Tests Administered 02 July 2007:
                     Clinical Interview
                     Wechsler Adult Intelligence Scale-III
                     Halstead-Reitan Battery
                              Category Test
                             Speech Sounds Perception Test
                             Seashore Rhythm Test
                             Tactual Performance Test
                             Manual Finger Tapping
                             Trail Making Test A & B
                    Wisconsin Card Sorting Test
                    Conners' Continuous Performance Test
                   Wechsler Memory Scale — ill (Logical Memory and Visual Reproduction subtests)
                   California Verbal Learning Test-II
                   Test of Memory Malingering
                   Beck Depression Inventory-II
                   Personality Assessment Inventory

                  Test Scores:

                  Wechsler Adult Intelligence Scale-III

                  Full Scale IQ Score               91
                  Verbal IQ Score                   89
                  Performance IQ Score              97

                  WAIS-III Subscale Scores
                  Verbal Subtests                                          Performance Subtests
                          Information               9                            Picture Completion                          8
                         Vocabulary                 11                           Block Design                                9
                         Cornprehension             7                            Matrix Reasoning                            13
                         Similarities               6                            Picture Arrangement                         13
                        Arithmetic                  8                            Digit Symbol                                5
                         Digit Span                 8                            Symbol Search                               4
                        Letter-Number               8

              WAIS-III Index Scores:
                     Verbal Comprehension                           93
                     Perceptual Organization                        99
                     Working Memory                                 88
                     Processing Speed                               71

              Halstead-Reitan Battery
                       Category Test: 69 errors, T=32, 3rd percentile for age and education.                       Impaired
                       Tactual Performance Test
                              Dominant Hand          7.7 minutes

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                                    Nondominant           6.3
                                    Both                  4.0
                                    Total Time            18.0   Impaired
                                    Memory                9
                                    Localization          2
                            Seashore Rhythm Test        25 correct
                            Speech Sounds Perception     10 errors    Impaired
                            Finger Tapping Dom      R= 36.8; T=23     Impaired
                                             Nondom L=37.6; T=30

                 Halstead-Reitan Impairment Index =0.6 Mild Generalized Neurocognitive Impairment

                 Trails A: 54 seconds, 0error, Halstead-Reitan Category 2: Mild to Moderate Impairment; T=25
                 Trails B: 117 seconds, 0errors, Halstead-Reitan Category 2: Mild to Moderate Impairment;
                         T=29


                Wisconsin Card Sorting Test: CAT=6 (>16th %ile); Trials to complete 1st category =12
                           (>16%ile); TE=19 (45th %ile), PE=7 (61st %ile), %PE=7 (75th %ile), FMS=2 (11-16th
                           %ile).

                Conners' Continuous Performance Test: Overall Index =4.44

               Wechsler Memory Scale-III                           RS           'SS
                     Logical Memory I                              40             10
                     Logical Memory II                             13            6
                     Visual Reproduction I                         82            8
                     Visual Reproduction II                        39            7

              California Verbal Learning Test-II
                                            Raw Score               SS
              List A Trial 1                  4                    -1.5
              List A Trial 5                  12                   -0.5
              List B                          4                    -1.0
             Short Delay Free Recall          6                    -1.5
             Short Delay Cued Recall          7                    -1.5
             Long Delay Free Recall           4                    -2.5
             Long Delay Cued Recall           6                    -2.0
             Recognition Hits                 9                    -4.5
             False Positives                  4                     1.0
             Discriminibility               13/16                  81.25%

             Selective Reminding Test
                                                                         RS         sd
                       Long Term Storage (LTS)                           68         -5.0
                       Consistent Long Term Retrieval (CLTR)             29         -4.2
                       Delayed Recall                                   2/12        -6.7

Name: MATTSON, JOSHUA DAVID
                                           Sex:     M                       Sponsor/SSN:     MATTSON, JOSHUA DAVID/373806097
FMP/SSN:                                   Tel H:   254-213-2315            Rank:            SERGEANT
DOB:           Oc t
                  1976                     Tel W:   254-286-6535            Unit:            WJAYAO   (0004 CS BN SUPPLY CO FSB)
PCat:       A11.2 USA ACTIVE DUTY          CS:                              Outpt Rec. Rim   MEDICAL EVALUATION BOARDS
            ENLISTED
MC Status: TRICARE PRIME (ACTIVE DUTY)     SWS:                             PCM:             JOHNSON,ROBERT J
Insurance: No                                                               Tel. PCM:        618-8767
                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                             STANDARD FORM 600 (REV. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS                  Prescribed by GSA and ICMR
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.                       F1RMR (41 CFR) 201-45.505
                                                                                                                                          —
                                                           MATTSON 027
                                                                     I   a.             ,   51A-All VI'   11'1

                             Facility: 59th Medical Wing
             Case 1:19-cv-03003-JMC-MJS
        02 Jul 2007 0743                                 Lackland AFB,
                                                      Document         TX 78236 Filed
                                                                     51-19          Clinic: Neuropsychology,
                                                                                      06/02/23          Page BAMC
                                                                                                               29 of 41 Provider:
                                   MERCADO, JANYNA M

                           Recognition Memory                                  6/10

                  TOMM
                           Trial 1—45/50
                           Trial 2— 49/50

                  Beck Depression Inventory-II =40 Severe

                 Personality Assessment Inventory (PAI)

                 INC T=49        SOM T=87            MAN T=45             ANT T=59           SUI T=54            DOM T=54
                 INF T= 44       ANX T=93            PAR T=83             ALC T=50           SIR T=53            WRM T=28
                 NIM T=81        ARD T=87            SCZ T=86             DRG T=42           NON T=56
                 PIM T=27        DEP T=88            BOR T=80             AGG T=86           RXR T=35



                If there are questions concerning this report, please call me at (210) 916-0531.




                Janyna M. Mercado, Ph.D.
                Clinical Neuropsychologist




                                                       PT, MC
                                                     Staff Psychiatrist




              Signed By MERCADO, JANYNA M (Physician, 59th Medical Wing Lackland AFB, TX 78236) @ 05 Jul 2007 1231




Name: MATTSON, JOSHUA DAVID
                                            Sex:                                Sponsor/SSN:          MATTSON, JOSHUA DAVID/373806097
FMP/SSN:    20/373806097                    Tel H:    254-213-2315              Rank:                     SERGEANT
DOB:        ElOct 1976                      Tel W:    254-286-6535              Unit:                 WJAYAO   (0004 CS BN SUPPLY CO FSB)
PCat:       A11.2 USA ACTIVE DUTY           CS:                                 Outpt Rec. Rot:       MEDICAL EVALUATION BOARDS
            ENLISTED
 /IC Status: TRICARE PRIME (ACTIVE DUTY)    SWS:                                PCM:                  JOHNSON,ROBERT J
insurance: No                                                                   Tel. PCM:             618-8767
                              CHRONOLOGICAL RECORD OF MEDICAL CARE                                                    STANDARD FORM 600 (RENT. 5)
    THIS INFORMATION IS PROTECTED BY THE PRIVACY ACT OF 1974 (PL-93-579). UNAUTHORIZED ACCESS                         Prescribed by GSA and ICMR
                                                                                                                      F1RMR (41 CFR) 201-45.505
        TO THIS INFORMATION IS A VIOLATION OF FEDERAL LAW. VIOLATORS WILL BE PROSECUTED.
                                                                                                                                                 •,„
                                                              MATTSON 028
    Case 1:19-cv-03003-JMC-MJS                  Document 51-19             Filed 06/02/23         Page 30 of 41




S
                                                   DEPARTMENT OF THE ARMY
                                             CARL R DARNALL ARMY MEDICAL CENTER
                                                  DEPARTMENT OF NEUROLOGY
                                                       3600 DARNELL LOOP
                                                      FORT HOOD, TX 76544
                                                            254-288-8080




                                                                                          DATE: 27 July 2007



        MEI3 ADDENDUM



       tatieat ID: Mattson, Joshua David
       Risk SGT/E5
       SRN:
       Specialty Clinic: Neurology, CRDAMC
       Physician Specialty: Neurology

        History of Present Illness: SGT Mattson was injured during 1ED blast while deployed to 01F, and had
       posi concussion symptoms after his event. He was the driver in aPLS (10 ton truck), when an LED (four
       charge EFP) detonated about three feet from the vehicle's passenger door. SGT Mattson's last memory
       prior to the LED detonating was driving on the road and then seeing aflash of light. He estimates that he
       staffered aloss of consciousness of approximately 2-3 minutes. During the time he was unconscious, he was
       wld that asecond IED detonated in the truck located directly behind his. SGT Mattson has no recollection
       of hearing or seeing the second explosion. Patient's first memory after regaining consciousness was feeling
       aburning sensation in his legs caused by the shrapnel that entered the vehicle through the passenger door
       where the TED detonated. He recalls seeing his legs saturated in blood. Patient recalled having to wait at the
      scene until the EOD had cleared the area. From the site of the blast, he arrived at Camp Najaf about four
      hours post injury. At the aid station SGT Mattson was given Morphine and does not have recollection of
      evcuts that occurred there. He was admitted over night at the aid station and released with crutches the next
      :lay_ He was placed on light duty at his Camp and was sent home in July 2006 for mid-tour leave. Upon
      re--,--ning to theatre, he was on light duty for about one month and then sent back out on missions. SGT

      Nf.,:son visited the combat stress clinic upon returning to theatre several times because his fellow soldiers
      noticed "odd behaviors" that patient was engaging in. For example, SGT Mattson's roommate walked into
     their room one day and found patient cleaning each bullet in his gun. Patient has no recollection of this
     event Patient was also experiencing nightmares that were very disturbing to him. Providers in theatre
     found him capable and able to return on missions with his unit. In August 2006, patient was involved in his
     second explosion during which mortar rounds detonated about 40 feet away from patient's position. Patient
     returned to CONUS with his unit in November 2006. He continued to have persistent headaches, cognitive
     symptoms as well as PTSD symptoms. His PTSD symptoms were the dominating feature of his condition.
     While undergoing his MEB evaluation, his neuropsych testing (done 14 months since the injury) showed
     cognitive deficits beyond his PTSD symptoms (see report).




     Physical Examination:
     General: well-developed, well-nourished, in no acute distress; vitals stable
     Cardiac: normal S1 and S2, regular rate and rhythm, no murmurs, rubs, or gallops

•    Pulmonary: clear to auscultation bilaterally




                                                   MATTSON 029
Case 1:19-cv-03003-JMC-MJS                  Document 51-19              Filed 06/02/23          Page 31 of 41



   Abdomen: Soft, non-tender, non-distended, bowel sounds present
   Extremities: no clubbing, cyanosis, or edema

   Neurological:
   MSE: See full Neuropsych report
   CN: Cranial Nerve examination was normal
   MOTOR: Motor examination was normal
   SENSORY: Sensory examination was normal
   REFLEXES: 2+ throughout with mute toes b/1
   COORD: No dysmetria
   GAIT: Gait examination was normal



   Radiology: Brain MRI: normal.

   Impression:
       1) Post Concussion Syndrome (medically unacceptable AR 40-501 para 3-30 sec (j)



  Current Condition and Recommendations:
  SGT Mattson suffered aconcussion while deployed to Iraq, and continues to have cognitive deficit from
  that injury that limit his ability to perform his job as asoldier. Please full neuropsych testing for full details
  of his deficits. Given that his deficits have persisted over the past 14 month, we recommend that he not be
  retained on active duty due to his cognitive deficits as documented in his neuropsych testing.

  SGT Mattson does not meet retention standards at this time, and he is medically unacceptable in
  accordance with AR40-501, Chapter 3, para 3-30 sec (j). Her case is referred to Physical Evaluation Board
  for disposition.




                                                                   Jason SHawley MD
                                                                   MAJ MC USA
                                                                   Chief, Neurology CRDAMC




                                                MATTSON 030
         Case 1:19-cv-03003-JMC-MJS            Document 51-19         Filed 06/02/23   Page 32 of 41
MATTSON, JOSHUA DAVID                        CONFIDENTIAL                                  Page 544 of 946




                     Date/Time:     28 Jun 2013 @ 1100
                      Note Title:   BEHAVIORAL HEALTH CARE TREATMENT PLAN
                        Location:   Temple TX VAMC
                      Signed By:    DOMINGUEZ,NATASHA S
                   Co-signed By:    DOMINGUEZ,NATASHA S
              Date/Time Signed:     28 Jun 2013 @ 1247




  LOCAL TITLE: BEHAVIORAL HEALTH CARE TREATMENT PLAN
 STANDARD TITLE: PSYCHIATRY TREATMENT PLAN NOTE
  DATE OF NOTE: JUN 28, 2013@11:00         ENTRY DATE: JUN 28, 2013@12:39:36
     AUTHOR: DOMINGUEZ,NATASHA S EXP COSIGNER:
    URGENCY:                    STATUS: COMPLETED


 The following plan was formulated by collaboration between the veteran and
 the treatment team.
  REASON FOR PLAN:
   Initial Treatment Plan


  DRRTP PROGRAM:
  Outpatient SATP


 CASE MANAGER: Dr. Crisp


  PRIMARY MENTAL HEALTH PROVIDER: Dr. Crisp


 ADMISSION DATE: May 23,2013


 VETERAN ELECTS TO HAVE FAMILY AND FRIENDS PARTICIPATION IN TREATMENT PLAN:
   No


  INTERPRETIVE SUMMARY AND DISCHARGE PLAN:
 The veteran is a36-year-old, White-American, married, 90% SC Army veteran. He
  lives with his wife and son children that he is raising as asingle parent. He
 is here for treatment of alcohol related problems and stated that March 3, 2013
 he was charged with DUI. He was referred for treatment by VJO social worker. The


 veteran lives in Temple. The veteran reported that he needs acertificate for
 the court.



 The veteran will benefit from the following programming:
  Relapse Prevention/Tuesday @ 1700/Ms. Dominguez
  PTSD-SUD/Wednesday @ 1800/Dr. Crisp
  Dual Diagnosis/Thursday @ 1800/Dr. Crisp



 SNAP:
                                                  MATTSON 031
        Case 1:19-cv-03003-JMC-MJS             Document 51-19          Filed 06/02/23   Page 33 of 41
MATTSON, JOSHUA DAVID                        CONFIDENTIAL                                   Page 545 of 946


 The veteran stated that his wife is supportive of his treatment efforts.
 The veteran may benefit from treatment for alcohol related problems.
 The veteran is open to receiving treatment.
 The veteran prefers outpatient treatment.



 Psychological History:
 Veteran is SC for PTSD and TBI. He reported that he is 90% SC including physical


 problems and is rated as unemployable. The veteran is prescribed the following
 medications and finds them effective. Venlafaxine, Aripiprazole, Citaloprann,
 Prazosin.



 The veteran was in supply for half of his 14 years in the U.S. Army and atruck
 driver for the other half. His TBI is related to an IED he hit in Iraq The
 veteran reported that he did one tour in Iraq 2005-2006.



 SUICIDE/HOMICIDE RISK ASSESSMENT
  At the present time, does the veteran have thoughts of killing
  him/herself?
   No


  At the present time, does the veteran have homicidal thoughts?
   No


 MEDICATION MANAGEMENT ASSESSMENT
  No pill count completed since last review
   Comment: NA


  No SMM assessment or re-assessment completed since last review
   Comment: NA


  Any variances identified during count or assessment:
  No



 GOAL: (DRUG/ALCOHOL ISSUES):
  "control my drinking behavior"



  Objective: For Veterans with an identified substance abuse/dependence
  history, veteran will identify high risk triggers and identify coping
  strategies to handle these.


  Status:
   Ongoing
    Specify: the veteran's programming is ongoing


  Method/frequency of treatment:
   as scheduled
                                                  MATTSON 032
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  Person(s) Responsible:
   Dr. Crisp/Veteran


  Anticipated Completion Date of Goal:
   Aug 19,2013



 GOAL: (WORK/EMPLOYMENT ISSUES):
  "Go to nursing school"


  Objective: the veteran will enroll in classes in the Fall


  Method/frequency of treatment:
   as scheduled


  Person(s) Responsible:
   Dr. Crisp/Veteran


  Anticipated Completion Date of Goal:
   Aug 20,2013



 GOAL: (Compliance):
  Veteran will be compliant with treatment and attend all treatment
  appointments.


  Objective:
   Veteran will attend his programming as scheduled.


  Status:
   Ongoing
    Specify: Veteran's programming is ongoing.


  Method/frequency of treatment:
   As scheduled


  Person(s) Responsible:
   Dr. Crisp/Veteran


  Anticipated Completion Date of Goal:
    Aug 21, 2013



 The following problem(s) were identified and will not be addressed as part
 of the current treatment plan for the reason(s) listed:




 DISCHARGE CRITERIA: Person served reports maximum treatment benefit and/or
 achieves 90% of treatment objective.

                                                  MATTSON 033
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 ANTICIPATED DISCHARGE DATE: Aug 23,2013


  NEXT SCHEDULED REVIEW DATE: Aug 22,2013


 THERAPEUTIC SCHEDULE:
  Groups: Relapse Prevention/Tuesday @ 1700/Ms. Dominguez
        PTSD-SUD/Wednesday @ 1800/Dr. Crisp
        Dual Diagnosis/Thursday @ 1800/Dr. Crisp


  FINANCES:
  90% SC VA-disability and his wife works full time as anurse


  DISCHARGE PLAN:
  The veteran will complete the program and attend aftercare


 /es/ NATASHA SDOMINGUEZ
 ADDICTION THERAPIST
 Signed: 06/28/2013 12:47


  Receipt Acknowledged By:
 07/08/2013 09:39        /es/ WILLIAM CRISP
                  Clinical Psychologist
 06/28/2013 13:01        /es/ WILLIE LEE GREENE
                  SOCIAL SCIENCE PROGRAM SPECIALIST



                     Date/Time:     28 Jun 2013 @ 1100
                      Note Title:   SATP/OUTPATIENT BIOPSYCHOSOCIAL ASSESSMENT
                        Location:   Temple TX VAMC
                      Signed By:    DOMINGUEZ,NATASHA S
                   Co-signed By:    DOMINGUEZ,NATASHA S
              Date/Time Signed:     28 Jun 2013 @ 1247


 Note



  LOCAL TITLE: SATP/OUTPATIENT BIOPSYCHOSOCIAL ASSESSMENT
 STANDARD TITLE: SATP NOTE
  DATE OF NOTE: JUN 28, 2013@11:00         ENTRY DATE: JUN 28, 2013@11:07:07
     AUTHOR: DOMINGUEZ,NATASHA S EXP COSIGNER:
    URGENCY:                    STATUS: COMPLETED


          INTEGRATED CLINICAL SUMMARY (OUTPATIENT SAOP)


 A. CLINICAL SUMMARY AND AFTERCARE PLAN
 The veteran is a36-year-old, White-American, married, 90% SC Army veteran. He
  lives with his wife and son children that he is raising as asingle parent. He
 is here for treatment of alcohol related problems and stated that March 3, 2013
  he was charged with DUI. He was referred for treatment by VJO social worker. The


 veteran lives in Temple. The veteran reported that he needs acertificate for
                                                  MT A Trl, ,ArNI\T   ll, A
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 /es/ P.Pazzaglia, MD
  Psychiatrist
 Signed: 08/30/2018 16:11



                       Date/Time:     19 Jul 2018 @ 1500
                        Note Title:   ORTHOPEDIC CLINIC CONSULT RESULTS
                         Location:    Tennple TX VAMC
                        Signed By:    KRUPELA,DAMON G
                     Co-signed By:    KRUPELA,DAMON G
                 Date/Time Signed:    23 Jul 2018 @ 1237


 Note



  LOCAL TITLE: ORTHOPEDIC CLINIC CONSULT RESULTS
 STANDARD TITLE: ORTHOPEDIC SURGERY CONSULT
  DATE OF NOTE: JUL 19, 2018@15:00          ENTRY DATE: JUL 19, 2018@15:35:16
     AUTHOR: KRUPELA,DAMON G              EXP COSIGNER:
    URGENCY:                     STATUS: COMPLETED


  MATTSON, JOSHUA DAVID
 6097


 ORTHOPEDICS CONSULTATION


  DATE OF VISIT: 07/19/2018


 CHIEF COMPLAINT: Left knee pain.


  HISTORY OF PRESENT ILLNESS: The patient is a41-year-old male consulted to
 orthopedics from the emergency room for left knee pain. He was seen
 approximately 1 month ago in the emergency room for nontraunnatic left knee
  pain. He admits to having a longstanding history of left knee pain, and his
 visit to the ER was an exacerbation of this pain, not associated with any
 particular trauma. He denies any left hip for left ankle pain. He does
 have apast medical history of significant trauma to the left lower extremity
 due to an IED explosion 12 years ago. He did have surgery at the left patella
 due to afracture of the patella. He presumes that the fragment was removed,
 as it was visible prior to the surgery. He does use sulindac on adaily basis
  but is indecisive whether it helps him or not.


 SOCIAL HISTORY: He is a postal carrier. Smokes 1 pack of cigarettes per day.
  Does not consume any illegal drugs. Rarely consumes alcohol. He is divorced.


  PAST MEDICAL HISTORY: Reviewed per CPRS.


  MEDICATIONS: Reviewed per CPRS.


 ALLERGIES: AMOXICILLIN.
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 PHYSICAL EXAMINATION:


 GENERAL APPEARANCE: No apparent distress. Nontoxic. Alert and oriented.
 Overweight. Ambulatory, with aslight antalgic gait. No assistive devices.


 LEFT KNEE: Left knee is negative for effusion or any infectious signs. Range
 of motion is 0to 115 degrees. There is an anterolateral scar at the patella,
 reflective of reported history of surgery. There is no objective instability
 of the knee. Positive for medial joint line tenderness. Positive
 patellofennoral grind. McMurray test negative.


 IMAGING DATA: X-ray of the left knee displays arthritic changes.


 IMPRESSION: Left knee posttraunnatic osteoarthritis.


 PLAN: The above diagnosis was discussed with the patient. Discussed with the
 patient options available to him. Discussed with him that later on in life he
 may benefit from aknee replacement surgery but that at his age it is not in
 his best interest. The patient was also encouraged to discontinue smoking.
 He expressed understanding of the above counseling. He is agreeable to having
 asteroid injection today. Please see procedure note for steroid injection.
 Discussed with the patient may repeat every 4 months on an as needed basis. He
 was provided with acontact card if any questions or concerns arise. For all
 other issues, the patient is to follow up with primary care provider.



 /es/ DAMON G KRUPELA
 PAC
 Signed: 07/23/2018 12:37



                    Date/Time:     19 Jul 2018 @ 1353
                     Note Title:   ORTHOPEDIC CLINIC CONSULT RESULTS
                       Location: Tenn ple TX VAMC
                      Signed By:   KRUPELA,DAMON G
                  Co-signed By:    KRUPELA,DAMON G
             Date/Time Signed:     19 Jul 2018 @ 1359


 Note



  LOCAL TITLE: ORTHOPEDIC CLINIC CONSULT RESULTS
 STANDARD TITLE: ORTHOPEDIC SURGERY CONSULT
 DATE OF NOTE: JUL 19, 2018@13:53         ENTRY DATE: JUL 19, 2018@13:53:13
    AUTHOR: KRUPELA,DAMON G            EXP COSIGNER:
    URGENCY:                   STATUS: COMPLETED


 Ortho consult dictated, 7092470


 /es/ DAMON G KRUPELA

                                                 MT   1   ITITICIMT   II, /
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 MARY B. HEATON, et al.,

                        Plaintiffs,

            V.                                                Civil Action No. 1:19-cv-03003-JMC

 THE ISLAMIC REPUBLIC OF IRAN,

                        Defendant.


  TESTIMONIAL AFFIDAVIT OF JOSHUA G. MATSON SUPPORT OF PLAINTIFFS'
            MOTION FOR DEFAULT JUDGMENT AGAINST IRAN

Pursuant to 28 U.S.C. §1746, I, JOSHUA G. MATTSON, hereby declare as follows:

       1.        "Through my father, Joshua Mattson, Iam one of the Plaintiffs in the above—

captioned Action. See Pls.' First Amend. Compl. at 83. Iam now over the age of 18, of sound mind,

and make this Affidavit from personal knowledge.'

           2.    Iwas born in July 2003. Iam aresident of the State of Texas. In accordance with

28 U.S.C. §§ 1605A (a)(2)(A)(ii)(I) and 1605A(c)(1), at the time of the May 16,2006 terrorist attack

at issue (hereinafter 'the Attack') Iwas aUnited States citizen.

           3.    Iam submitting this Affidavit in support of my request for the Court to enter a

Default Judgment against Defendant Islamic Republic of Iran (Iran'). 2 More specifically, Iam

submitting this Affidavit to provide the Court with facts and evidence concerning the mental




'At the time the Amended Complaint was filed (January 2021), Iwas a 17 year old minor and
represented by my father as Next Friend. Based on the legal authority below, my attorneys have
informed me that, now that Iam 19 years old, Ican no longer be represented by my father as next
friend and must pursue damages against Iran myself in this action.

See Fed. R. Civ. P. 17(b) (Whether an individual has the capacity to sue is determined by the law of
the individual's domicile); Kaplan v. Kaplan, 373 S.W. 2d 271, 273 (Tex.Civ.App.—
Houston 1963, no writ) (under Texas law, a minor plaintiff must be represented by a
guardian or next friend to bring suit); id. at 275 (the authority of anext friend to prosecute an action
on an minor's behalf expires when the minor reaches the age of majority); TEX. CIV. PRAC. &
REM. CODE ANN. §129.001 (the age of majority under Texas law is 18).
2See id.                                    MATTSON 037
                                                   1
  Case 1:19-cv-03003-JMC-MJS              Document 51-19        Filed 06/02/23       Page 39 of 41



anguish, bereavement, grief, and loss of society and comfort (i.e., solatium damages) Isuffered

following the Attack.

       4.       Iam Joshua Mattson's son. At the time of the Attack, Iwas 3years old. For the

reasons detailed in this Affidavit, Joshua Mattson's traumatic experience during the Attack, and his

resulting injuries, has caused asignificant personal impact on my life.

       5.       Prior to signing this Affidavit, my attorneys asked me series of questions about the

Attack and how the injuries Joshua Mattson sustained in the Attack has impacted my life. Below

are the questions and my answers:

Q. What was your relationship with Joshua like during your childhood?

A. Our relationship was ok. There were alot of arguments between him and my mom. My dad always
had alot of VA appointments and took alot of medication. My dad was depressed alot and drank a
lot of beer after he came back from Iraq. He would try to play and do things with me, but he was
always hurting too much to do anything for very long. My dad never drank in front of me, but Iknow
when Iwent to bed, he would drink alot.

Q. What was your relationship with Joshua like on May 16, 2006?

A. Iwas only 3years old at the time of the Attack so Idon't remember much about our relationship.

Q. Where were you when you found out about the Attack and what feelings did you experience at
this time?

A. When Ifound out about the Attack, Iwas at home and became sad. Iwas only 3, but Ido remember
that Iwas scared and cried alot.

Q. Do certain dates or events trigger feelings of sadness, frustration, or anger relating to the Attack?

A. Iwould feel sad when my dad would say he couldn't run and play and with me. We weren't able
to do some of the things that Iwanted to such as skateboarding due to my dad's leg injury. My dad
would get upset with himself and frustrated when he couldn't do things with me. That would upset
me and made me feel bad for asking. We couldn't really do much together when Iwas little.

Q. How has the Attack impacted Joshua?

A. Physically, my dad is always in pain. Emotionally, he's angry alot. He has to take medicine and
see psychiatrists. After he returned from Iraq, my dad and my mom would fight more. They got
divorced, and this was really hard on me. Iheard my parents fight alot when Iwas young and my
mom would scream and say my dad changed and he didn't care about anything anymore. She would
yell at my dad to up his meds and was always mad.

My dad still has alot of problems emotionally and physically. Isee it better now, because Iam older,
                                            MATTSON 038
                                                   2
  Case 1:19-cv-03003-JMC-MJS            Document 51-19         Filed 06/02/23       Page 40 of 41



and Ialso see that my dad can't play with his younger son, my little brother Jonathan, who is now 6.

Q. Please describe how Joshua's post—Attack injuries currently impacts your life?

A. Now that Iam 19, I'm not impacted as much. But it still sucks. My dad's injuries affect him, and
at times he gets really upset and down on himself It also makes my little brother sad, and that
sucks to see it happening to him too. Because of his knee injuries, my dad can't be as physical as he
was before the Attack. He either hurts too much or gets so frustrated with himself because he can't
do it anymore. He talks bad about himself too, and that really upsets me.

Q. Do you have afavorite photograph of you and Joshua together? Why is this photograph so
special to you?

A. The picture below fairly and accurately depicts myself (in the red shirt) being held by my dad.
Standing next to him, on the right, is my mom. This is one of my favorite photographs of us. It was
taken the day my dad left for Iraq in 2005. He was so happy and this was the last photo we took
before he was hurt."




                                           MATTSON 039
                                                  3
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 "I DECLARE UNDER PENALTY OF PERJURY UNDER THE LAWS OF THE UNITED
     STATES OF AMERICA THAT THE FOREGOING IS TRUE AND CORRECT."



                                     Jo5fluCtidla;i47694
                                     Joshua G. Mattson

SIGNED under oath before me on       g+41   202




                                    Notar             tate       exas




                                                     JUAN TORRES
                                               Ity Notary ID #132130451
                                                Expires August 15,2023




                                  MATTgON 040
